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 4                             IN THE UNITED STATES DISTRICT COURT
 5                         FOR THE NORTHERN DISTRICT OF CALIFORNIA
 6                                   SAN FRANCISCO DIVISION
 7     UNITED STATES OF AMERICA,                        Case No.: CR 20-00138
 8                     Plaintiff,                       [PROPOSED] ORDER RELEASING
                                                        DEFENDANT MOYSES RAUDALES
 9             v.                                       FROM CUSTODY
10     ESMUN MOYSES MORAL-RAUDALES,                     The Hon. James Donato
11                     Defendant.
12

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            Pursuant to the sentence of TIME SERVED imposed on June 29, 2020, IT IS HEREBY
14
     ORDERED that defendant ESMUN MOYSES MORAL-RAUDALES (PFN# UMD175), who
15
     is being housed at the Alameda County Santa Rita Jail, be released from the custody of the
16
     United States Marshal Service forthwith.
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19              IT IS SO ORDERED.
                    July 1, 2020
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21                     Dated                           HON. JAMES DONATO
                                                       United States District Judge
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     RELEASE ORDER
     MORAL-RAUDALES, CR 20-00138
